12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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12-12020-mg   Doc 6045-1   Filed 12/09/13 Entered 12/09/13 15:17:10   Exhibit One
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